Case 1:23-mj-00274-MN Document 9-1 Filed 07/25/23 Page 1 of 3 PageID #: 918




                     EXHIBIT A
 Case 1:23-mj-00274-MN Document 9-1 Filed 07/25/23 Page 2 of 3 PageID #: 919




July 25, 2023

Theodore A. Kittila, Esq.
William E. Green, Jr., Esq.
Halloran Farkas + Kittila LLP
5801 Kennett Pike, Suite C/D
Wilmington, DE 19807


                Re:   United States v. Biden, No. 23-MJ-00274-MN

Counsel:

       It was brought to our attention that today, July 25, 2023, you filed an application to
intervene as amicus in tomorrow’s proceeding concerning our client, Robert H. Biden. Please
withdraw your application forthwith, as it is in violation of applicable rules and law.
        As you are aware, the hearing in which you now seek to intervene as amicus is scheduled
to take place tomorrow, July 26, 2023. Before seeking leave, you failed to notify and seek the
consent of the parties, as is required. Indeed the timing of your application seems calculated to
deprive the parties of adequate time to review your application. You had ample time to notify
the parties, as tomorrow’s hearing was docketed a month ago. You elected not to do so. This is
reason enough for the Court to deny your application, and you should withdraw your application
on that basis.
       In addition, you have not identified (nor could you identify) any legal basis for your
attempt to intervene as amicus in tomorrow’s proceeding. Because you lack a legal basis, the
Court should deny your application and you should withdraw it.
       Most troubling is that you have sought to append to a filing on the public docket
hundreds of pages of documents, many of which contain grand jury secret information and
confidential taxpayer information. We have alerted you to this issue and you have refused to file
these materials under seal, frivolously claiming that because a congressional committee has
improperly disseminated these materials, they no longer need protection. Your position is
baseless and abusive.
       We apprised the clerk of our concern that your filing violated applicable rules, as the
enclosures contained sensitive information about our client that “shall not be included in any
document filed with the court” (pursuant to the Court’s Notice Regarding Criminal Case File
    Case 1:23-mj-00274-MN Document 9-1 Filed 07/25/23 Page 3 of 3 PageID #: 920




Documents1). The clerk thereafter took your filing down. In response, it appears that you
proceeded to file the exact same documents again. It is evident that you are more concerned with
publicizing our client’s personal information than you are with your application to intervene as
amicus.
                                                    Sincerely,




                                                    Christopher J. Clark



cc:       Benjamin L. Wallace, Esq. (U.S. Department of Justice)
          Leo J. Wise, Esq. (U.S. Department of Justice)
          Derek E. Hines, Esq. (U.S. Department of Justice)
          Richard I.G. Jones, Jr. (Berger Harris, LLP)
          Brian C. McManus, Esq. (Latham & Watkins LLP)
          Matthew S. Salerno, Esq. (Latham & Watkins LLP)
          Timothy H. McCarten, Esq. (Latham & Watkins LLP)




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